                          Case 1:21-cr-10228-FDS
2-6   5HYLVHG86'&0$            Document 9-1 Filed 07/27/21 Page 1 of 2
Criminal Case Cover Sheet                                                         U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.      II                    Investigating Agency           HSI

City      Boston                                  Related Case Information:

County       Suffolk                              6XSHUVHGLQJ,QG,QI                           &DVH1R
                                                  6DPH'HIHQGDQW                              1HZ'HIHQGDQW
                                                  0DJLVWUDWH-XGJH&DVH1XPEHU           21-mj-5198-JGD
                                                  6HDUFK:DUUDQW&DVH1XPEHU           See below
                                                  55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         Danielle Miller                                        -XYHQLOH                 G <HV G
                                                                                                              ✔ 1R

                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU            G             ✔
                                                                                                               <HVG1R
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH Miami, FL
                      1989
%LUWKGDWH <URQO\ BBBBB661          2729
                                  ODVW BBBBBBBB     F
                                                   6H[BBBBB                  Caucasian
                                                                       5DFHBBBBBBBBBBB                         USA
                                                                                                   1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                 Mitchell Elman                         $GGUHVV 377 Oak St., Suite 415

Bar Number                                                                                    Garden City, NY 11530

U.S. Attorney Information:

AUSA         William Abely                                           %DU1XPEHULIDSSOLFDEOH        660281

Interpreter:            G <HV        ✔ 1R
                                     G                     /LVWODQJXDJHDQGRUGLDOHFW            English

Victims:               ✔
                       G<HVG1R ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                G <HV         ✔ 1R
                                                                                                                               

Matter to be SEALED:                 G <HV       G✔    1R

          G :DUUDQW5HTXHVWHG                       G 5HJXODU3URFHVV                          ✔ ,Q&XVWRG\
                                                                                               G

Location Status:

Arrest Date                  05/11/2021

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                      LQ                                                       
G
✔ $OUHDG\LQ6WDWH&XVWRG\DW Sarasota County Jail (FL)
                                                            G 6HUYLQJ6HQWHQFH                        G✔ $ZDLWLQJ7ULDO
G
✔ 2Q3UHWULDO5HOHDVH   2UGHUHGE\      MJ Edwin Torres, SDFL          RQ                      05/13/2021

Charging Document:                   G &RPSODLQW                 G ,QIRUPDWLRQ                      ✔ ,QGLFWPHQW
                                                                                                    G
                                                                                                                   5
Total # of Counts:                   G 3HWW\                  G0LVGHPHDQRU                     G )HORQ\
                                                                                                    ✔

                                          &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     07/27/2021                         6LJQDWXUHRI$86$
                         Case 1:21-cr-10228-FDS Document 9-1 Filed 07/27/21 Page 2 of 2
-6   5HYLVHG86'&0$ 3DJHRIRU5HYHUVH


District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 Danielle Miller

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged                 Count Numbers

6HW     18 U.S.C. § 1343                              Wire Fraud                                              1-3


6HW     18 U.S.C. § 1028A                             Aggravated Identity Theft                               4-5


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

ADDITIONAL INFORMATION:                              Search / seizure warrants: 21-mj-5278-JGD, 21-mj-5279-JGD, 21-mj-5280-JGD,

 21-mj-5281-JGD, 21-mj-5282-JGD, 21-mj-5283-JGD, 21-mj-5284-JGD, 21-mj-5285-JGD, 21-mj-5286-JGD, 21-mj-5287-JGD,

21-mj-5289-JGD, 21-mj-5290-JGD, 21-mj-5281-JGD, plus residential SW out of SDFL



86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
